                       United States Court of Appeals
                                   FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                            ____________

No. 23-1064                                                     September Term, 2024
                                                                           FERC-CP21-94-000,
                                                                           FERC-CP21-94-001
                                                           Filed On: January 21, 2025
New Jersey Conservation Foundation, et al.,

                   Petitioners

         v.

Federal Energy Regulatory Commission,

                   Respondent

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New Jersey Division of Rate Counsel, et al.,
                   Intervenors
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Consolidated with 23-1074, 23-1077, 23-1129,
23-1130, 23-1137



              BEFORE:        Srinivasan, Chief Judge; Henderson*, Millett, Pillard, Wilkins,
                             Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges

                                               ORDER

        Upon consideration of intervenor for respondent Transcontinental Gas Pipe Line
Company, LLC’s petition for rehearing en banc, the responses thereto, the briefs of amici
curiae in support of the petition for panel rehearing and rehearing en banc, and the
absence of a request by any member of the court for a vote, it is

         ORDERED that the petition be denied.

                                              Per Curiam

                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                       BY:    /s/
                                                              Daniel J. Reidy
                                                              Deputy Clerk


* Circuit Judge Henderson did not participate in this matter.
